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     Pro Se I (Rev. 12/16) Complaint for a Civil Case



                                             UNITED STATES DISTRICT COURT                                                          FILED
                                                                              for the
                                                                                                                                 MAY 06 2021
                                                                  District of Northern California
                                                                                                                              SUSAN Y. SOONG
                                                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                Division                                 NORTH DISTRICT OF CALIFORNIA



                                                                                )       Case No.       Civil Action No. 20-CV-08669-WHA
                                                                                )                      (to be filled in by the Clerk's Office)
                                  Alyssa Tai
                                                                                )
                                   Plaintifl(s)
                              f                                                 )
     (Write the fit!/ name o. each plaint/ffwho is filing this complaint.
     ff'the names o.fall the plaintiffs cannot fit in the space above,          )       Jury Trial: (check one)     D Yes        � No
     please write "see attached'' in the space and attach an additional         )
     page with the full list of names.)
                                                                                )
                                       -v-
                                                                                )
                                                                                )
                                                                                )
     Chandra Varanasi & His Rapist friends & craigslist &                       )
      Equinix & United States Criminal Justice System                           )
            (Reinstate Lawsuit Against Equinix)
                                                                                )
                                   Defendant(s)                                 )
     (Write the fit!/ name of each defendant who is being sued. Ifthe
     names of all the defendants cannot fit in the space above, please          )
     write "see attached" in the space and attach an additional page
     with the full list of names.)



                                                        COMPLAINT FOR A CIVIL CASE

     I.        The Parties to This Complaint
               A.         The Plaintiff(s)

                          Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                          needed.
                                     Name                                   (Alyssa Tai
                                     Street Address                         70 Oneida Ave
                                     City and County                        San Francisco
                                     State and Zip Code                     CA
                                     Telephone Number                       415 937 2990
                                     E-mail Address                         lisay788(a),yahoo.com_
                                                                                                                                                  .-




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          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                                                         f
                     include the person's job or title (i known). Attach additional pages if needed.
                     Defendant No. 1
                                Name                            Chandra Varanasi
                                Job or Title (if known)
                                Street Address                  165 Aurora Plz
                                City and County                 Union City
                                State and Zip Code              CA 94587
                                Telephone Number                804 928 2996, 415 320 2299
                                E-mail Address (if known)


                     Defendant No. 2
                                Name                            Craig Newmark
                                Job or Title       (ifknown)    Owner of Craigslist
                                Street Address                  1381 9th Ave
                                City and County                 San Francisco,
                                State and Zip Code              California, 94122
                                Telephohe Number                (415) 566-6394
                                E-mail Address (if known)


                     Defendant No. 3
                                Name                            Harvey Spevak (Equinix)
                                Job or Title       (if known)   Owner of Equinix
                                Street Address                  1 Lagoon Dr,
                                City and County                 Redwood City
                                State and Zip Code              CA
                                                                 - 94065
                                                                    - -      ----
                                                                             -        -
                                Telephone Number                (650) 598-6000
                                E-mail Address (i(known)


                     Defendant No. 4
                                Name
                                Job or Title (ifknown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number



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                                E-mail Address (i(known)


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U .S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction?            (check all that apply)

                  IZ!    Federal question                             IZ!   Diversity of citizenship


           Fill out the paragraphs in this section that apply to this case.

           A.           If the Basis for Jurisdiction Is a Federal Question

                        List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                        are at issue in this case.
                         It is a violation of the United States Constitution that the defendant(s) intentionally sexual assault
                         women at the Silicon Valley for pleasure and declaring free country free rape.

                         It violates the U.S. Constitution that all people are created equal and must be treated with respect.

           B.           If the Basis for Jurisdiction Is Diversity of Citizenship

                        l.       The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff,   (name)    Alyssa Tai                                 , is a citizen of the
                                            State of (name) United States


                                 b.         If the plaintiff is a corporation
                                            The plaintiff,   (name)                                               , is incorporated
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page proyiding the
                                 same information for each additional plaintiff.)

                        2.       The Defendant(s)

                                a.          If the defendant is an individual



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                                           The defendant, (name)                                                    , is a citizen of
                                           the State of (name)                                                   Or is a citizen of
                                            (foreign nation)



                                b.         If the defendant is a corporation
                                           The defendant, (name)      Equinix                                   , is incorporated under
                                           the laws of the State of (name)     California                                  , and has its
                                           principal place of business in the State of (name)      California
                                           Or is incorporated under the laws of (foreizn nation)
                                           and has its principal place of business in (name)

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same iriformation.for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                  I .. $2,000,000,000 The defendant hires a group of Indian rapists and support them in the bay
                                  area with 6 figures of income at least in 2019. During these time the rapists rape countless
                                  women at the Silicon Valley. But for the Defendant's reckless hiring, the Plaintiff would not
                                  have suffered physical, emotional and monetary damages such as inability to keep regular work
                                  hours and constant pain and suffering of being sexually assaulted and constantly wanting t9+
                                  revenge by killing the Defendant.

                                  2. At least $1,000,000 goes to victim compensation fund for the victims that comes forth to
                                  claim the damage.

III.      Statement of Claim

          Write a shmt and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




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          Equinix reckless negligently hires a group of Indian rapists as software engineers. Defendant Rama (Chandra)
          Varanasi claims he works for a reputable Equinix company and was compensated a 6 figure income inducing
          people to think that he is a normal reasonable person. As such, he ursurps the opportunity to attempt to sexual
          assault me and other women. But for Equinix's reckless hiring of these group of Indian rapists I and countless
          women will not be suffering life long trauma of emotional pain and suffering.

          Equnix actively denied that they hire Defendant rapist. However, Plaintiff found out Defendant Chandra
          Varanasi still works at Equinix as of year 202 I but just use his other name, Rama Varanasi, instead. Equnix
          fails to investigate Defendant rapist and continue to hire and support his criminal activities which constitutes
          justice obstruction. But for Equinix's continute hiring, Defendant's working visa already expired at the end of
          2020 and he would have been deported back to India. Defendant would not have been a sex criminal in the
          states.

          Equinix seeks financial gain over social justice which causes social disorder. Companies which support
          criminals and its activities should be fined by the government as well in addition to paying compensation to its
          victim.

          P does not want any companies to think that they can get away in hiring criminals for financial gain without
          getting punished. Since D rapist has been with the company for over 10 years; therefore, all Equinix gain which
          derived from the D rapist should be disgorged and be given to the P. In addition, in order to prevent Equinix
          from hiring more rapists, Equinix is to pay punitive damage to P.

          Previously, P was seeking $1,000,000,000 damage but Equinix still continues to hire D rapist, it means they
          think $ 1 billion is immaterial to them. As such damage of $2 billion dollars should help them to stop hiring D
          rapist and more rapists into the country.




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          1. $2,000,000,000 since the Defendant recklessly hires a group of rapists as software engineers to commit
          felony and didn't properly train them to conduct themselves reasonably.

          2. Injunction that the company must be more causious and monitor the Indian employees more strictly because
          they are more likely to have character issues and criminal propensity. The company shoulcf provide moral and
          ethical classes to train them to conduct themselves reasonably.

          3. Injunction that the company has to let go of the named Indian rapist employees and deport them back to India
          and cease to hire Indian rapists for financial gain.




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V.         Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: ( I ) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary suppot1 or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 1 1.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                      Date of signing:             05/03/202 1


                      Signature of Plaintiff
                                                   �z
                                                      �
                      Printed Name of Plaintiff     Alyssa Tai

           B.        For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                     Name of Law Firm
                      Street Address
                      State and Zip Code
                     Telephone Number
                      E-mail Address




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